Case 2:19-cv-00200-JRG-RSP Document 281 Filed 05/07/21 Page 1 of 2 PageID #: 13200




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

   GREE, INC.                                    §
                                                 §
   v.                                            §   Case No. 2:19-cv-00200_237_310_311-JRG
                                                 §
   SUPERCELL OY                                  §


                        MINUTES FOR JURY TRIAL DAY NO. 6
                HELD BEFORE U. S. DISTRICT JUDGE RODNEY GILSTRAP
                                     May 7, 2021

   OPEN: 08:18 AM                                                            ADJOURN:   01:54 PM


   ATTORNEYS FOR PLAINTIFF:                     See attached.


   ATTORNEYS FOR DEFENDANT:                     See attached.

                                                Thomas Derbish
   LAW CLERKS:                                  Will Nilsson
                                                Steven Laxton
   COURT REPORTER:                              Shelly Holmes, CSR-TCRR

   COURTROOM DEPUTY:                            Andrea Brunson


     TIME                                            MINUTES
   08:18 AM     Court opened.
   08:18 AM     Exhibits used prior day read into the record.
   08:19 AM     Formal charge conference started.
   08:33 AM     Formal charge conference completed.
   08:33 AM     Court recessed.
   08:48 AM     Court reconvened.
   08:49 AM     Jury entered the courtroom.
   08:49 AM     Court provided instructions to jury.
   09:53 AM     Closing argument by Plaintiff’s counsel, Mr. Moore.
   10:20 AM     Closing argument by Defendant’s counsel, Mr. Sacksteder.
   11:01 AM     Final closing argument by Plaintiff’s counsel, Mr. Gillam.
   11:15 AM     Closing arguments concluded.
   11:15 AM     Court gave final instructions to the jury.
   11:20 AM     Jury retired to jury room to deliberate.
Case 2:19-cv-00200-JRG-RSP Document 281 Filed 05/07/21 Page 2 of 2 PageID #: 13201




     TIME                                        MINUTES
   11:20 AM   Recess.
   01:41 PM   Court reconvened. Note from Jury indicating a verdict has been reached.
   01:42 PM   Jury returned to the courtroom. Court read verdict in its entirety. Jurors polled
              representing a unanimous verdict. Jurors released and excused by the Court.
   01:54 PM   Court adjourned.




                                            2
